          Case 24-01760                         Doc 10               Filed 02/11/24 Entered 02/11/24 23:09:49                                                  Desc Imaged
                                                                    Certificate of Notice Page 1 of 5
Information to identify the case:

                       Irene Medina                                                             Social Security number or ITIN:      xxx−xx−7764
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:              Brittany M Wilson                                                        Social Security number or ITIN:      xxx−xx−8268
(Spouse, if filing)                                                                             EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:               13     2/8/24

Case number:          24−01760

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Irene Medina                                                            Brittany M Wilson

2. All other names used in the
   last 8 years
                                                                                                                           aka Brittany M Medina

                                                   6661 Breckenridge Rd                                                    6661 Breckenridge Rd
3. Address                                         Lisle, IL 60532                                                         Lisle, IL 60532
                                                   David H Cutler                                                          Contact phone 847−673−8600
4. Debtor's  attorney
   Name and address
                                                   Cutler & Associates, Ltd.
                                                   4131 Main St.
                                                                                                                           Email: cutlerfilings@gmail.com

                                                   Skokie, IL 60076

5. Bankruptcy trustee                              Glenn B Stearns                                                         Contact phone 630−981−3888
     Name and address                              801 Warrenville Road Suite 650
                                                   Lisle, IL 60532

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 2/9/24
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                       page 1
         Case 24-01760                     Doc 10          Filed 02/11/24 Entered 02/11/24 23:09:49                                                      Desc Imaged
                                                          Certificate of Notice Page 2 of 5
Debtor Irene Medina and Brittany M Wilson                                                                                                    Case number 24−01760
7. Meeting of creditors                                                                                      Location:
    Debtors must attend the meeting to     March 13, 2024 at 10:00 AM
    be questioned under oath. In a joint                                                    Zoom video meeting. Go to
    case, both spouses must attend.
    Creditors may attend, but are not      The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID 388 782
    required to do so.                     later date. If so, the date will be on the court 3554, and Passcode 4113122038, OR
                                           docket.                                          call 1−872−282−6946
                                                                                                             For additional meeting information, go to
                                                                                                             www.justice.gov/ust/moc .

8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 5/13/24
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 4/18/24
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 8/6/24
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           4/12/24 at 10:00 AM , Location: Courtroom 615, 219 S. Dearborn St, Chicago, IL 60604 or Using Zoom. To
                                           appear by video, use this link: https://www.zoomgov.com/ or to appear by telephone, call Zoom for
                                           Government at 1−669−254−5252 or 1−646−828−7666. Then enter the meeting ID 160 731 2971 and
                                           passcode 587656.

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                         page 2
           Case 24-01760                Doc 10          Filed 02/11/24 Entered 02/11/24 23:09:49                                     Desc Imaged
                                                       Certificate of Notice Page 3 of 5
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 24-01760-JSB
Irene Medina                                                                                                           Chapter 13
Brittany M Wilson
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Feb 09, 2024                                               Form ID: 309I                                                             Total Noticed: 39
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 11, 2024:
Recip ID                   Recipient Name and Address
db/jdb                 +   Irene Medina, Brittany M Wilson, 6661 Breckenridge Rd, Lisle, IL 60532-3408
30653409               +   David Fogel, 1225 Franklin Ave, Suite 201, Garden City, NY 11530-1890
30653410               +   Fintegra LLC, 1150 First Ave,, Suite 105, King of Prussia, PA 19406-1350
30653415               +   Ink Credit, Cardmember Services, PO Box 15123, Wilmington, DE 19850-5123
30653417               +   Jamie Sitter, 6661 Breckenridge Rd, Lisle, IL 60532-3408
30653419               +   Markoff Law LLC, 29 N Wacker Dr #1010, Chicago, IL 60606-3203
30653422               +   Minute Clinic, 920 2nd Ave South, Minneapolis, MN 55402-3318
30653427               +   Ned Stevens Gutter CLeaning, 500 Plaza Drive, Secaucus, NJ 07094-3619
30653429               +   OnDeck Loan, 4700 W Daybreak Pkwy Suite 200, South Jordan, UT 84009-5133
30653431               +   Rose M Medina, 6661 Breckenridge Rd, Lisle, IL 60532-3408
30653435              #+   Village Medical, 125 S Clark St, Chicago, IL 60603-4043

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: cutlerfilings@gmail.com
                                                                                        Feb 09 2024 22:34:00      David H Cutler, Cutler & Associates, Ltd., 4131
                                                                                                                  Main St., Skokie, IL 60076
tr                     + Email/Text: mcguckin_m@lisle13.com
                                                                                        Feb 09 2024 22:34:00      Glenn B Stearns, 801 Warrenville Road Suite 650,
                                                                                                                  Lisle, IL 60532-4350
ust                    + Email/Text: USTPREGION11.ES.ECF@USDOJ.GOV
                                                                                        Feb 09 2024 22:35:00      Patrick S Layng, Office of the U.S. Trustee,
                                                                                                                  Region 11, 219 S Dearborn St, Room 873,
                                                                                                                  Chicago, IL 60604-2027
30653400                   Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        Feb 09 2024 22:35:00      American Honda Finance, Attn: National
                                                                                                                  Bankruptcy Center, P.O. Box 168008, Irving, TX
                                                                                                                  75016
30653401               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Feb 09 2024 22:56:43      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
30653402               + EDI: BANKAMER
                                                                                        Feb 10 2024 03:23:00      Bank of America, Attn: Bankruptcy, 4909
                                                                                                                  Savarese Circle, Tampa, FL 33634-2413
30653403               + EDI: CAPITALONE.COM
                                                                                        Feb 10 2024 03:23:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
30653405               + EDI: JPMORGANCHASE
                                                                                        Feb 10 2024 03:23:00      Chase SBA, Mail Code AZ2-0100, PO Box 29550,
                                                                                                                  Phoenix, AZ 85038-9550
30653406               + EDI: CITICORP
                                                                                        Feb 10 2024 03:23:00      Citi Card/Best Buy, Attn: Citicorp Cr Srvs
                                                                                                                  Centralized Bankr, Po Box 790040, St Louis, MO
                                                                                                                  63179-0040
30653407               + EDI: CITICORP
                                                                                        Feb 10 2024 03:23:00      Citibank, Citicorp Cr Srvs/Centralized
                                                                                                                  Bankruptcy, Po Box 790040, St Louis, MO
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                                                    Certificate of Notice Page 4 of 5
District/off: 0752-1                                               User: admin                                                            Page 2 of 3
Date Rcvd: Feb 09, 2024                                            Form ID: 309I                                                        Total Noticed: 39
                                                                                                            63179-0040
30653408              + Email/PDF: creditonebknotifications@resurgent.com
                                                                                   Feb 09 2024 22:56:57     Credit One Bank, Attn: Bankruptcy Department,
                                                                                                            6801 Cimarron Rd, Las Vegas, NV 89113-2273
30653411                 Email/Text: FirstmarkAccountMa@firstmarkservices.com
                                                                                   Feb 09 2024 22:34:27     Fm/towd Point Assent G, 121 South 13th Street,
                                                                                                            Lincoln, NE 68508
30653412              + Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                   Feb 09 2024 22:34:00     Goldman Sachs Bank USA, Attn: Bankruptcy, Po
                                                                                                            Box 70379, Philadelphia, PA 19176-0379
30653413              + EDI: LCIICSYSTEM
                                                                                   Feb 10 2024 03:23:00     IC Systems, Inc, Attn: Bankruptcy, Po Box 64378,
                                                                                                            St. Paul, MN 55164-0378
30653414                 Email/Text: rev.bankruptcy@illinois.gov
                                                                                   Feb 09 2024 22:35:00     Illinois Department of Revenue, PO Box 19035,
                                                                                                            Springfield, IL 62794-9035
30653416              + EDI: IRS.COM
                                                                                   Feb 10 2024 03:23:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
30653404                 EDI: JPMORGANCHASE
                                                                                   Feb 10 2024 03:23:00     Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                            15298, Wilmington, DE 19850
30653418              + EDI: JEFFERSONCAP.COM
                                                                                   Feb 10 2024 03:23:00     Jefferson Capital Systems, LLC, Attn: Bankruptcy,
                                                                                                            200 14th Ave E, Sartell, MN 56377-4500
30653423                 Email/Text: EBN@Mohela.com
                                                                                   Feb 09 2024 22:34:00     MOHELA, Attn: Bankruptcy, 633 Spirit Dr,
                                                                                                            Chesterfiled, MO 63005
30653420              + EDI: MERCEDES
                                                                                   Feb 10 2024 03:23:00     Mercedes - Benz Financial Services, Attn:
                                                                                                            Bankruptcy, P.O. Box 685, Roanoke, TX
                                                                                                            76262-0685
30653421              + EDI: AISMIDFIRST
                                                                                   Feb 10 2024 03:23:00     Midland Mortgage Co, Attn: Customer
                                                                                                            Service/Bankruptcy, Po Box 26648, Oklahoma
                                                                                                            City, OK 73126-0648
30653426              + EDI: NAVIENTFKASMSERV.COM
                                                                                   Feb 10 2024 03:23:00     Navient, Attn: Bankruptcy, Po Box 9640,
                                                                                                            Wilkes-Barr, PA 18773-9640
30653424              + EDI: NAVIENTFKASMSERV.COM
                                                                                   Feb 10 2024 03:23:00     Navient, Attn: Bankruptcy, Po Box 9500,
                                                                                                            Wilkes-Barre, PA 18773-9500
30653428              + Email/Text: bnc@nordstrom.com
                                                                                   Feb 09 2024 22:35:52     Nordstrom Signature Visa, Attn: Bankruptcy, Po
                                                                                                            Box 6555, Englewood, CO 80155-6555
30653430              + Email/Text: BankruptcyMail@questdiagnostics.com
                                                                                   Feb 09 2024 22:36:00     Quest Diagnostics, 500 Plaza Drive, Secaucus, NJ
                                                                                                            07094-3656
30653432              + EDI: WTRRNBANK.COM
                                                                                   Feb 10 2024 03:23:00     Target, c/o Financial & Retail Srvs, Mailstop BT
                                                                                                            POB 9475, Minneapolis, MN 55440-9475
30653433              + Email/PDF: OGCRegionVBankruptcy@hud.gov
                                                                                   Feb 09 2024 22:56:42     US Department of Housing and Urban, 451 7th
                                                                                                            Street S.W., Washington, DC 20410-0001
30653434              + Email/Text: PDELINQ@sba.gov
                                                                                   Feb 09 2024 22:35:00     US Small Business Administration, Office of
                                                                                                            Disaster Assistance, 14925 Kingsport Rd, Fort
                                                                                                            Worth, TX 76155-2243

TOTAL: 28


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
30653425        *+            Navient, Attn: Bankruptcy, Po Box 9500, Wilkes Barre, PA 18773-9500

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
           Case 24-01760              Doc 10        Filed 02/11/24 Entered 02/11/24 23:09:49                                Desc Imaged
                                                   Certificate of Notice Page 5 of 5
District/off: 0752-1                                              User: admin                                                           Page 3 of 3
Date Rcvd: Feb 09, 2024                                           Form ID: 309I                                                       Total Noticed: 39

I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 11, 2024                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 9, 2024 at the address(es) listed
below:
Name                             Email Address
David H Cutler
                                 on behalf of Debtor 1 Irene Medina cutlerfilings@gmail.com r48280@notify.bestcase.com

Glenn B Stearns
                                 stearns_g@lisle13.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
